
324 S.E.2d 224 (1985)
312 N.C. 224
Tina Darlene LYNCH
v.
Harry Aldene HAZELWOOD.
No. 327PA84.
Supreme Court of North Carolina.
January 8, 1985.
Pollock, Fullenwider, Cunningham &amp; Patterson by Bruce T. Cunningham, Jr., Southern Pines, for plaintiff-appellant.
Staton, Perkinson, West &amp; Doster by Norman C. Post, Jr., Sanford, for defendant-appellee.
PER CURIAM.
The Court is evenly divided. Under these circumstances, following the uniform practice of this Court and the ancient rule of praesumitur pro negante, the decision of the Court of Appeals is affirmed, not as precedent but as the decision in this case. Durham v. R.R., 113 N.C. 240, 18 S.E. 208 (1893); Reg. v. Millis, 8 Eng.Rep. 844 (1844).
AFFIRMED.
VAUGHN, J., did not participate in the consideration or decision of this case.
